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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


THE SHAW GROUP INC., et al.                                        CIVIL ACTION

VERSUS                                                             NO. 12-257-JJB-RLB

ZURICH AMERICAN INSURANCE
COMPANY, et al.



                                            ORDER

       Before the court is Defendant Zurich American Insurance Company’s (“Zurich”) Motion

to Compel Production of Documents and Deposition Testimony (R. Doc. 308), filed on July 11,

2014. The Motion is directed at Plaintiffs The Shaw Group Inc. and Shaw Process Fabricators,

Inc. (collectively “Shaw”); the non-party law firms Baker, Donelson, Bearman, Caldwell &

Berkowitz, P.C. (“Baker Donelson”); Griffith, Davison & Shurtleff, P.C. (Griffith Davison); and

Oles, Morrison, Rinker & Baker, LLP (“Oles Morrison”); which all oppose the Motion to

Compel. (R. Docs. 337, 338, 339, 340, 341). Zurich has filed a Reply. (R. Doc. 372).

       For the following reasons, Zurich’s Motion to Compel is DENIED.

I.     BACKGROUND

       This is an insurance dispute. In the underlying action, REC Solar Grade Silicon, LLC

(“REC”) sued Shaw for damages regarding defective pipe spools sold by Shaw to REC for use in

a gas manufacturing plant. Shaw filed an action in the Eastern District of Washington in July of

2011 seeking a declaratory judgment providing that, among other things, Zurich American

Insurance Company (“Zurich”), Shaw’s primary insurer, breached its duty to defend Shaw in the

underlying litigation and did so in bad faith. In August of 2011, Shaw’s excess insurers, North

American Specialty Insurance Company (“NAS”) and Westchester Fire Insurance Company
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(“Westchester”), filed a similar action in the Middle District of Louisiana seeking a declaration

that Shaw’s claims were excluded by their policies. In November of 2011, this Court ordered the

excess insurer’s suit to be transferred to the Eastern District of Washington. In April of 2012,

the Eastern District of Washington consolidated the actions and the dispute was transferred back

to this Court.

       Shaw retained Baker Donelson, Griffith Davison, and Oles Morrison during the course of

the underlying litigation. Zurich issued a subpoena duces tecum to each of these law firms

seeking the production of documents related to their defense of Shaw in the underlying litigation.

Zurich also issued deposition subpoenas to five individual attorneys who represented Shaw in the

underlying action: Jason Cagle (an attorney with Griffith Davison); Anthony Jach (an attorney

with Griffith Davison); Daniel Terrell (former in-house counsel with Shaw); Danny Shaw (an

attorney with Baker Donelson); and Robert Brown (former in-house counsel with Shaw).

       On May 5, 2014, the court issued an order requiring the non-party law firms to produce

certain documents and allowing for the deposition of the non-party attorneys to proceed on a

limited basis. (R. Doc. 283). The court held that the following categories of information shall

define the scope of the required productions or deposition testimony:

       (1) Zurich’s alleged failure to pay for Shaw’s defense in a timely manner and any
       resulting harm to Shaw, including complaints or threats to withdraw by counsel as
       a result of Zurich’s alleged late payments;

       (2) Zurich’s alleged failure in exercising reasonable care in controlling Shaw’s
       defense, including Zurich’s alleged requirement that Shaw’s counsel treat it as a
       “partner”; and

       (3) Zurich’s alleged failure to conduct good faith settlement negotiations
       sufficient to ascertain the most favorable terms available to Shaw and any
       resulting harm to Shaw, including Shaw’s alleged loss of an opportunity to settle
       the underlying lawsuit for a sum less than $10 million between the period of the
       fall of 2009 through late spring of 2011.



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(Id. at 20). The court quashed Zurich’s subpoenas to the extent Zurich requested documents or

deposition testimonies outside of the foregoing scope of information. (Id.) In reaching this

conclusion, the court held that “Zurich does not have a substantial need for documents for the

purpose of demonstrating the reasonableness of the settlement between Shaw and REC, which

Zurich may challenge without resort to protected work product.” (Id. at 19). Furthermore, the

court stated that “information regarding the assessment of Shaw’s defenses and counterclaims in

the underlying action” are not relevant to whether Zurich violated its duty to defend. (Id. at 10).

II.    LAW AND ANALYSIS

       A.      The Meet and Confer Requirement

       Rule 37(a)(1) of the Federal Rules of Civil Procedure provides that any motion to compel

“must include a certification that the movant has in good faith conferred or attempted to confer

with the person or party failing to make disclosure or discovery in an effort to obtain it without

court action.” Fed. R. Civ. P. 37(a)(1). Zurich did not include a Rule 37 certification with its

Motion.

       In its Reply, Zurich claims that its duty to meet and confer was satisfied at the

depositions of Jason Cagle, Anthony Jach, and Danny Shaw. At those depositions, Zurich’s

counsel alerted the non-party attorney deponents’ counsel (who is also Shaw’s counsel) that

Zurich would seek relief from the Court regarding the deponents’ refusal to answer certain

questions. At the deposition of Mr. Cagle, counsel for Zurich and counsel for the non-party

attorneys discussed their positions with regard to the scope of information allowed by the court’s

May 5, 2014 order.

       There is no indication in the record, however, that Zurich ever discussed a motion to

compel the production of documents with the three non-party law firms, which all represent

themselves in this matter. Zurich has not alerted the court of any discussions during the

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depositions of the non-party attorneys that put those non-party law firms on notice of a potential

motion to compel with regard to document productions, much less of any discussion that

constituted a good faith attempt to resolve alleged deficiencies in the productions.

       Two of the non-party law firms, as well as Shaw, have represented that Zurich did not

meet and confer prior to filing the Motion. (R. Doc. 337 at 3; R. Doc. 338 at 2; R. Doc. 340 at

6). The non-party law firm Oles Morrison, which did not have an attorney deposed, has

informed the court that it was not aware any discovery dispute existed concerning the May 4,

2014 order until it was served with Zurich’s motion. (R. Doc. 338 at 6). Zurich does not assert

in its Reply that its counsel met and conferred with Oles Morrison.

       Particularly as it relates to the production of documents, rather than attempt to resolve

any dispute regarding those productions without court involvement, Zurich chose to simply seek

a court order, thereby forcing the third party firms to defend themselves here in the Middle

District of Louisiana or risk an adverse order not only compelling the production of privileged

materials but also requiring the payment of expenses including attorney’s fees.

       Due to Zurich’s failure to attach a Rule 37 certification to its motion as is specifically

required by the Rule, as well as its failure to meet and confer with all opposing counsel subject to

the motion, the Motion to Compel is DENIED. See, e.g., Ross v. Citifinancial, Inc., 203 F.R.D.

239, 240 (S.D. Miss. 2001) (attachment of a Rule 37(a)(1) certificate is a “mandatory

prerequisite” to the court’s consideration of a motion to compel and the meet and confer

requirement “is not an empty formality” and “cannot be satisfied by including with the motion

copies of correspondence that discuss the discovery at issue”); Dimitric v. Tex. A & M Univ., No.

06-cv-107, 2007 WL 1090982, at *1 (S.D. Tex. April 9, 2007) (“Prior to filing this Motion,

Dimitric did not confer, except through an [e-mail], with defense counsel . . . . For this reason,

alone, his Motion should be denied.”).

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       The court recognizes that the arguments regarding the scope of the permissible discovery,

whether sought through requests for production of documents or deposition testimony, concerns

the same issues. The court also recognizes that Zurich’s communications in the depositions

could be seen to satisfy the substance of the meet and confer requirement for those questions.

For these reasons, the court will still address the merits of the Motion to Compel.

       B.      Zurich’s Motion to Compel Documents

       Zurich does not dispute that the non-party law firms produced documents in response to

its subpoenas after the court issued its May 5, 2014 order. (R. Doc. 308-1 at 2). Each of the

subpoenaed non-party law firms have either represented that they have produced all documents

in compliance with the May 5, 2014 order or that Zurich never challenged their productions prior

to this Motion. (R. Doc. 337 at 4; R. Doc. 338 at 2; R. Doc. 341 at 2).

        Zurich vaguely argues that the non-party law firms have refused to produce documents

on the issue of damages, and requests the court to order production of documents establishing

“how the claims made by REC against Shaw in the underlying litigation were evaluated for

liability, damages and settlement purposes.” (R. Doc. 308-1 at 4). In its Reply, Zurich argues,

for the first time, that the productions by the three non-party law firms are deficient because the

non-party law firms did not produce privilege logs. (R. Doc. 372 at 2-3). Zurich’s arguments

raised in its Reply, which Zurich sought leave to file on August 15, 2014, are untimely, as

discovery closed on July 11, 2014. (R. Doc. 297).

       Even if Zurich’s arguments raised in its Reply were timely, the court would still deny the

motion because Zurich is requesting the court to compel the production of documents containing

information outside the scope of the court’s May 5, 2014 order. Zurich seeks the production of

documents outlining “the factors, the assessments, and the evaluations which led to the ultimate

[REC/Shaw] settlement” and information detailing “whether the amounts paid were more than

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Shaw otherwise would have paid but for the alleged bad faith of Zurich.” (R. Doc. 372 at 9). In

other words, Zurich is seeking privileged information regarding Shaw’s decisions in entering

into the settlement with REC. The court made it clear in its previous order that discovery of such

privileged information is limited to that pertaining to Zurich’s acts or omissions, not Shaw’s

attorneys’ decision-making process regarding its evaluation of, and decision to enter into, its

settlement with REC. (R. Doc. 283 at 19-20).

       The court denies Shaw’s motion to compel the production of documents, as it seeks the

court to require the production of documents beyond the scope of, and inconsistent with, its

previous order. Furthermore, to the extent Zurich is requesting the court to revisit its May 5,

2014 order and expand the scope of documents required to be produced by the non-party law

firms, the court denies any such relief.

       C.      Zurich’s Motion to Compel Deposition Responses

       Zurich acknowledges that the subpoenaed non-party attorneys submitted to depositions as

required by the May 5, 2014 order. (R. Doc. 308-1 at 2). Zurich argues, however, that even

though a question posed to Jason Cagle sought information consistent with the court’s May 5,

2014 order, Mr. Cagle’s counsel at the deposition (the same counsel for Shaw) instructed Mr.

Cagle not to answer the question. Zurich also mentions that other “examples” of a failure to

answer similar questions can be found in the depositions of the non-party attorneys Anthony Jach

and Danny Shaw. (R. Doc. 308-1 at 3). The court will assume that Zurich is also attempting to

compel Mr. Jach and Mr. Shaw to answer certain questions not answered in their depositions as

directed by their counsel at the deposition. Zurich claims that its questions posed to these

attorneys concern “whether or not there was sufficient information to evaluate the liabilities and

damages issues in the case at certain points in the course of the litigation” and seek information

that directly relate “to the issue of whether or not Shaw was damaged, and the extent of that

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alleged damage, based on Shaw’s claim that it was harmed by Zurich’s alleged bad faith acts or

omissions.” (R. Doc. 308-1 at 2-3) (question marks omitted).

        After considering the deposition transcripts submitted by Zurich, and the submitted

briefs, the court finds that the questions to which Zurich is seeking to compel answers are the

following:

        •    To Mr. Cagle: “Prior to the arisal (sic) of the conflict of interest, was there
             sufficient information for Griffith to evaluate the liability and the damages
             and Shaw’s counterclaims to that point?” (See R. Doc. 308-1 at 2; R. Doc
             308-2 at 2).

        •    To Mr. Jach: “There was a question of insurance coverage in the REC
             litigation or for Shaw for the REC claims. Do you recall that?” (See R. Doc.
             308-1 at 3; R. Doc 308-2 at 9).

        •    To Mr. Shaw: “Do you know what factors went into Shaw’s decision to
             ultimately pay that amount that was paid [in the Shaw/REC settlement]?”
             (See R. Doc. 308-1 at 3; R. Doc 308-2 at 12).

The questions posed to Mr. Cagle and Mr. Shaw seek information from Shaw’s attorneys

regarding Shaw’s decision to pay certain amounts in settlement, 1 and, therefore, go to the issue

of the reasonableness of the settlement between Shaw and REC. The court has already ruled that

this type of privileged information is not discoverable. (R. Doc. 283 at 19).

        The question posed to Mr. Jach, however, does not appear to necessarily seek information

outside of the scope of three categories of inquiry allowed by the court. Instead, it appears to be

a prefatory question that could conceivably serve as an entry point into the three allowed

categories of inquiry, namely (1) “Zurich’s alleged failure to pay for Shaw’s defense in a timely

manner and any resulting harm to Shaw”; (2) “Zurich’s alleged failure in exercising reasonable

care in controlling Shaw’s defense”; and (3) “Zurich’s alleged failure to conduct good faith

settlement negotiations sufficient to ascertain the most favorable terms available to Shaw and

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 The information sought goes beyond the alleged failure of Zurich to conduct good faith settlement negotiations.
That alleged failure is within the scope of the court’s prior ruling and was covered, without objection, in the
deposition testimony. (R. Doc. 358-4 at 32).
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any resulting harm to Shaw.” (R. Doc. 283 at 20). That said, this prefatory question is so

vaguely and broadly stated that Mr. Jach’s answer would be virtually meaningless regardless of

how Mr. Jach answered. It could also just as easily seek discovery of impermissible privileged

communications. Counsel for Shaw was correct in his objection that to the extent any answer

would involve attorney-client communications as those communications would be beyond the

scope of the court’s prior order. (R. Doc. 358-4 at 4). It is also noted that immediately following

the objected to question, Mr. Jach was asked and answered a number of specific questions

regarding Zurich’s failure to pay for Shaw’s defense and any affects that failure had on the

defense of Shaw. (R. Doc. 358-4 at 4-6). He also answered questions regarding certain aspects

regarding settlement evaluations. (Id.). To the extent the “question of insurance coverage”

involved the failure to pay for Shaw’s defense, Mr. Jach answered those questions without

objection. Any further compelled answer to this question would only serve the purpose of

obtaining additional information beyond or inconsistent with the May 5, 2014 order. Therefore,

the court will not compel an answer to this question.

       D.      Expenses

       If a motion to compel is denied, the court “must, after giving an opportunity to be heard,

require the movant, the attorney filing the motion, or both to pay the party or deponent who

opposed the motion its reasonable expenses incurred in opposing the motion, including attorney's

fees.” Fed. R. Civ. P. 37(a)(5)(B). “But the court must not order this payment if the motion was

substantially justified or other circumstances make an award of expenses unjust.” Id.

       Oles Morrison represents in its Opposition that it incurred fees and costs “in the

approximate amount of $1500.00” to defend the Motion. (R. Doc. 338 at 6). An attorney at Oles

Morrison submitted a declaration stating that, to research and write the Opposition, she spent



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approximately 3.5 hours at a billing rate of $295 per hour, and a summer law clerk spent one

hour at a billing rate of $150 per hour. (R. Doc. 339 at 3).

       Shaw, Griffith Davison, and Baker Donaldson did not provide the amount they incurred

in opposing Zurich’s motion. Accordingly, the court grants these entities an opportunity to file

an affidavit or declaration of reasonable expenses incurred in opposing Zurich’s Motion.

       The court will allow Zurich to file a response to the assertion of reasonable expenses

submitted by the entities subject to the Motion to satisfy the requirement that Zurich has an

opportunity to be heard.

III.   CONCLUSION

       IT IS HEREBY ORDERED that Zurich’s Motion to Compel Production of Documents

and Deposition Testimony is DENIED.

       IT IS FURTHER ORDERED that Shaw, Griffith Davidson, and Baker Donaldson shall

each file an affidavit or declaration of reasonable expenses incurred in opposing this Motion,

including attorney’s fees, no later than September 11, 2014. Zurich may submit a response, if

desired, regarding the proposed expenses and fees requested by all of the entities subject to this

Motion no later than September 22, 2014. Upon submission of the aforementioned, the court

will determine whether and to what extent payment of expenses should be ordered.

       Signed in Baton Rouge, Louisiana, on September 3, 2014.




                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE




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